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     and Roger Jinteh Arrigo Chen
15
                                UNITED STATES DISTRICT COURT
16                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
17

18
      THE REGENTS OF THE UNIVERSITY OF
19    CALIFORNIA, a California corporation,
20                                              Case No. 3:16-cv-7396-EMC
                     Plaintiff,
21
             vs.
                                                JOINT STIPULATION AND
22                                              [PROPOSED] ORDER TO MODIFY
      ROGER JINTEH ARRIGO CHEN, an
      individual; GENIA TECHNOLOGIES, INC.,     DEADLINES (modified)
23
      a Delaware corporation; and DOES 1-25,
24
                     Defendants.
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     JOINT STIPULATION TO MODIFY DEADLINES
     CASE NO. 3:16-CV-7396-EMC
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 1          Plaintiff Regents of the University of California’s (“Plaintiff”) and Defendants Roger

 2   Jinteh Arrigo Chen (“Chen”) and Genia Technologies, Inc. (“Genia”) and, together with Chen,

 3   “Defendants”) (collectively, Plaintiff and Defendants are referred to as the “Parties”), have met-

 4   and-conferred and jointly stipulate and request as follows:

 5          WHEREAS, following a mediation held on May 1, 2018, the Parties have entered into an

 6   agreement in principle to settle this case, and the Parties require additional time to finalize a

 7   definitive settlement agreement so that the case may be dismissed in its entirety following the

 8   execution of that definitive agreement.

 9          WHEREAS, the Court has previously entered stipulations order extending deadlines to

10   allow the parties to finalize the settlement agreement (Docs. 95, 98), and the parties now require

11   additional time.

12          WHEREAS, the Parties have agreed to suspend further discovery activity and deadlines

13   until July 30, 2018 (including any deadlines for briefing relating to any motions pending before

14   the Court) while the Parties finalize the definitive agreement.

15          WHEREAS, the Parties are working diligently to finalize the definitive agreement and

16   anticipate doing so within the coming two weeks.

17          WHEREAS, in accordance with their agreed suspension of discovery activity and

18   deadlines, the Parties respectfully request the following modifications of additional deadlines set

19   by the Court:

20      1. The Court has set a Status Conference in this case for July 19, 2018 (Doc. 98). In

21          order to allow the Parties time to finalize their settlement, the Parties hereby agree

22          and request that the Court re-set this Status Conference for August 9, 2018, as noted in

23          the Proposed Order attached hereto, or for an alternate date in early August 2018

24          convenient for the Court.

25      2. In its June 5, 2018 order (Doc. 98), the Court re-set the hearing on Defendants’

26          Motion to Join Oxford Nanopore Technologies, Inc. (Doc. 87) (“Defendants’

27          Motion”) to September 6, 2018, and the deadlines for the Parties to file their response and

28
     JOINT STIPULATION TO MODIFY DEADLINES
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 1          reply in connection with this motion to July 20, 2018 and August 3, 2018, respectively.

 2          In order to allow the Parties time to finalize their settlement, the Parties hereby agree and

 3          request that, as noted in the Proposed Order attached hereto: the time for Plaintiff

 4          to file its Response to Defendants’ Motion be extended to and including, August 10,

 5          2018; the time for Defendants to file their reply in support of Defendants’ Motion be

 6          extended to and including August 24, 2018; and the hearing on Defendants’ Motion be

 7          re-set for September 13, 2018.

 8      3. In its June 5, 2018 order (Doc. 98), the Court set a deadline of July 11, 2018 for

 9          Defendants to file revised documents pursuant to Local Rule 79-5(f) in accordance with

10          the Court’s April 27, 2018 order (Doc. 94). In order to allow the Parties additional time

11          to finalize their settlement, the Parties hereby agree and request that the time for

12          Defendants to file these revised documents pursuant to Local Rule 79-5(f) be extended to

13          and including July 25, 2018, as noted in the Proposed Order attached hereto.

14      4. In its April 3, 2018 (Doc. 85) order modifying trial deadlines, the Court set the following

15          deadlines:

16              a. Dispositive Motions:                    Last day to be heard 11/18/2018 at 1:30pm;

17              b. Non-Expert Discovery Cut-Off:           7/2/2018;

18              c. Opening Expert Reports:                 8/16/2018;

19              d. Rebuttal Expert Reports:                9/6/2018;

20              e. Expert Discovery Cut-Off:               9/27/2018;

21          In order to permit the parties to finalize their settlement agreement, the parties

22   respectfully request that the Court extend those deadlines as follows:
                                                                                    15
23              a. Dispositive Motions:                    Last day to be heard 11/25/2018 at 1:30pm;

24              b. Non-Expert Discovery Cut-Off:           7/30/2018;

25              c. Opening Expert Reports:                 8/30/2018;

26              d. Rebuttal Expert Reports:                9/20/2018;

27              e. Expert Discovery Cut-Off:               10/4/2018;

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     JOINT STIPULATION TO MODIFY DEADLINES
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 2          WHEREAS, the Parties have met and conferred and agree that there is good cause for

 3   these stipulated modifications, and that this stipulation is not made for purposes of delay, but

 4   rather so that the Parties can finalize the settlement of this case, which they are working

 5   diligently to do. Thus, the Parties respectfully request that the Court sign the Proposed Order

 6   attached hereto.

 7

 8          SO STIPULATED

 9

10
      DATE: July 1, 2018
11

12    BAKER BOTTS LLP                                     WILMER CUTLER PICKERING
                                                          HALE AND DORR LLP
13

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     JOINT STIPULATION TO MODIFY DEADLINES
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             Case 3:16-cv-07396-EMC Document 101 Filed 07/03/18 Page 5 of 7



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 7                                               Counsel for Genia Technologies, Inc. and
                                                 Roger Jinteh Arrigo Chen
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     JOINT STIPULATION TO MODIFY DEADLINES
     CASE NO. 3:16-CV-7396-EMC               4
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 1                                    ATTORNEY ATTESTATION

 2          I, Robert B. Gunther, am the ECF User whose ID and password are being used to file this

 3   Stipulation. In compliance with N.D. Cal. Civil L.R. 5-1(i)(3), I hereby attest that the

 4   concurrence in the filing of the document has been obtained from each of the signatories.

 5
                                                          /s/ Robert B. Gunther
 6                                                        Robert B. Gunther
 7
                                     CERTIFICATE OF SERVICE
 8
            The undersigned hereby certifies that a true and correct copy of the above and foregoing
 9
     document has been served on July 1, 2018, to all counsel of record who are deemed to have
10
     consented to electronic service via the Court’s CM/ECF system.
11

12
                                                          /s/ Robert B. Gunther
13                                                        Robert B. Gunther

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     JOINT STIPULATION TO MODIFY DEADLINES
     CASE NO. 3:16-CV-7396-EMC                        5
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 1
                                         [PROPOSED] ORDER
 2

 3          IT IS SO ORDERED that the foregoing Joint Stipulation is approved.

 4          The Court HEREBY ORDERS as follows:

 5
        1. The Status Conference in this case for July 19, 2018 is hereby vacated and reset for
 6
            August 9, 2018.
 7
        2. The deadline for Plaintiff to file its response to Defendants’ Motion to Joint Oxford
 8
            Nanopore Technologies, Inc. (Doc. 87) shall be extended to and including August 10,
 9
            2018, and the deadline for Defendants to file any reply for that Motion shall be extended
10
            to August 24, 2018.
11
        3. Defendants’ Motion to Join Oxford Nanopore Technologies, Inc. shall be set for hearing
12
            on September 13, 2018.
13
        4. The deadline for Defendants to file revised documents pursuant to Local Rule 79-5(f) in
14
            accordance with the Court’s April 27, 2018 order (Doc. 94) shall be extended to and
15
            including July 25, 2018.
16
        5. The following modified deadlines are hereby ordered, replacing the previously-ordered
17
            dates for these deadlines:
18
                                                                                     15
19              a.   Dispositive Motions:                Last day to be heard 11/25/2018 at 1:30pm;
                b.   Non-Expert Discovery Cut-Off:       7/30/2018;
20              c.   Opening Expert Reports:             8/30/2018;
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                d.   Rebuttal Expert Reports:            9/20/2018;
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                e.   Expert Discovery Cut-Off:           10/4/2018;       T               TC
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23   Dated: ______________________
                  7/3/2018                               _______________________________
                                                               UNIT




                                                         Edward M. Chen    S S  O O
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                                                                                    DIJudge
24                                                       United States District
                                                                            S  M  O
                                                                                Court
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     JOINT STIPULATION TO MODIFY DEADLINES
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